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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:03CR163
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
JEFFREY LEISURE,                             )
                                             )
              Defendant.                     )

       The government has filed a motion for reduction of sentence pursuant to Federal

Rule of Criminal Procedure 35(b) (Filing No.112).

       IT IS ORDERED:

       1.     Counsel for the Defendant shall contact Ed Champion at 402-661-7377 after

consulting with the Defendant to see if they waive their appearance at the hearing, will

participate by telephone, at a number counsel will provide, or will attend the hearing in

person;

       2.     Counsel for the Defendant, if previously appointed pursuant to the Criminal

Justice Act (“CJA”), is reappointed to represent the Defendant for purposes of the Rule

35(b) motion. If retained, counsel for the Defendant remains as counsel for the Defendant

until the Rule 35(b) motion is resolved or until counsel is given leave to withdraw;

       3.     The Federal Public Defender shall provide CJA counsel with a new voucher;

       4.     The Clerk of the Court shall provide a copy of this order to counsel for the

government, counsel for the Defendant, and the Federal Public Defender.

       DATED this 15th day of June, 2005.

                                          BY THE COURT:

                                           s/ Laurie Smith Camp
                                          United States District Judge
